 

U.S. DISTRICT COURT

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United States District

NORTHERN DISTRICT OF ______-1

  

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA — CW
" CRIMINAL COMPLAINT

YASER ABDEL SAID ( MI vy
CASE NUMBER: 5:08 - QA

(Name and Address of Defendant)

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about January 1, 2008 in Dallas county, in the

Northern District of Texas defendant(s) did, (track statutory Language of Offense)

unlawfully, knowingly and willfully flee from the state of Texas and move
in interstate commerce with the intent to avoid prosecution for the crime
of Capital Murder-Multiple, a felony under the laws of the state of Texas.

inviolation of Title 18 __ United States Code, Section(s) __1973

| further state that |am a(n)_Soecial Agent of the FBI and that this complaint is based on the following
fficial Title

facts:

SEE ATTACHED AFFIDAVIT INCORPORATED BY REFERENCE AND MADE A PART OF THIS
COMPLAINT.

Continued on the attached sheet and made a part hereof: ky Yes CL] No

Signature of Complainant
LAURIE R. GIBBS. Special Agent,

Sworn to before me and subscribed in my presence, FEDERAL BUREAU OF INVESTIGATION

August 21, 2008 a Dallas, Texas

 

Date City and State

 

UNITED STATES MAGISTRATE JUDGE Leen agtllal itor:
Name & Title of Judicial Officer Sighature of Judicial Officer LL OS

 
 

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AFFIDAVIT

I, Laurie R. Gibbs, , Affiant, under oath, duly state that I am a Special Agent (SA) of the
Federal Bureau of Investigation (FBI) and that the statements set forth in this affidavit are true
and correct to the best of my knowledge:

1. That on 01/02/2008, in the case styled The State of Texas vs Yaser Abdel Said, arrest
warrant number F-0833908, was issued by the District Clerks Office, Dallas County, Dallas,
Texas, for the offenses noted in paragraph 2 below.

2. That Yaser Abdel Said, has been charged by indictment by the Dallas County Grand
Jury on August 15, 2008, with unlawfully and intentionally shooting Amina Said and Sarah
Said with a firearm, a deadly weapon, causing their deaths.

3. That on August 20, 2008 , Affiant personally reviewed the above described
documents.

4. That on August 20, 2008, Affiant received information from Detective Joseph Hennig,
Irving Police Department, advising he has been working on this matter for several months and
has determined from interviews with the family and subsequent investigation, that incidental to
the shootings, Yaser Abdel Said fled the state of Texas. Detective Hennig was told that Said
either went to New York, where he has relatives, or possibly to Egypt, where he was born and
has extensive family ties, to avoid being arrested for the aforementioned offenses.

5. That on August 20, 2008, First Assistant District Attorney Terri H. Moore, wrote a
letter to the Assistant United States Attorney (AUSA) assigned to Unlawful Flight to Avoid
Prosecution (UFAP) warrants, requesting the assistance of the Federal Bureau of Investigation
(FBI), under the Unlawful Flight to Avoid Prosecution, Title 18, Section 1073, U.S. Code. Terri
H. Moore further advised that if and when Yaser Abdel Said, is located, Moore will seek to

extradite and prosecute Said.
A Que J Alter

Laurie R. Gibbs
Special Agent, FBI
Dallas, Texas

Subscribed and sworn to me this oll day of August, 2008.

Aina Cwtlletfferrenn

“UNITED STATES MAGISPRATE JUDGES
